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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                        *
                                                 *
         v.                                      *    CRIMINAL NO. PX-19-181
                                                 *
 RONDELL HENRY,                                  *
                                                 *
                  Defendant                      *
                                                 *
                                              *******

       RESPONSE TO DEFENSE MOTION FOR COMPETENCY EVALUATION

       The defendant filed a Motion for a Competency Evaluation and Hearing on September 16,

2019. The Government has no objection to the Motion. However, the order proposed by the

defendant contains a paragraph that, to the Government’s knowledge, is not supported by any

statute or controlling caselaw. Specifically, in paragraph 5, the defendant’s proposed order seeks

to bar the use of any statement made by the defendant during the competency evaluation, or the

fruits thereof, in any criminal proceeding “except on an issue regarding competency or mental

condition as outlined in Fed. R. Crim. P. 12(c)(4).” This proposed language should not be accepted

by the Court.

       First, it is premature to cabin the future use of the defendant’s statements, in the absence

of knowing what those statements might be and what hearings may arise in this case going forward.

For example, the Government may wish to cross-examine the defendant regarding his statements

if he elects to testify at a hearing or trial, or a party (either the Government or the defendant) may

wish to use the defendant’s statements at sentencing. Second, Rule 12(c)(4) arguably does not

apply to this proceeding. No statute or controlling case commands its imposition here. Third, the

defendant’s proposed language is not language commonly used in competency orders signed by

other judges in this District. For example, the defendant’s proposed language does not appear in
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competency orders signed by Judge Hazel in United States v. Nelash Das, Crim. No. GJH-16-502,

ECF No. 78, 1 or by Judge Grimm in United States v. Saundra Lucille White, PWG-13-436, ECF

No. 104.

         The admissibility of statements made by the defendant during a competency evaluation can

be litigated, if ever, at a later date, if and when a party decides to attempt to admit the statements.

The Court should not resolve the potential issues now, in the absence of complete information.

Accordingly, the Government proposes that the Court issue an order, attached as Exhibit A, that

is substantively identical to the competency evaluation order entered by Judge Hazel in United

States v. Das. The Das order is attached as Exhibit B, for comparison purposes.

         In order to expedite a ruling on the defendant’s Motion, the parties request a telephonic

hearing at the Court’s earliest opportunity. 2


                                                   Respectfully submitted,

                                                   Robert K. Hur
                                                   United States Attorney

                                             By:              /s/
                                                   Thomas P. Windom
                                                   Assistant United States Attorney




1
    Das, just like the defendant here, has been charged with violating 18 U.S.C. § 2339B.
2
  The only other substantive difference between the defendant’s proposed order and the
Government’s proposed order is that the Government’s order, consistent with the statute, allows
the examination to be conducted by a “licensed or certified psychiatrist or psychologist,” not just
a licensed one. The Government is presently unaware of the difference between these terms, but
in an abundance of caution the statutory language should be followed.


                                                   2
